Case 8:18-cv-01046-EAK-JSS Document 25 Filed 01/10/19 Page 1 of 2 PageID 112



                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

  KEITH ELLISON,

        Plaintiff,                                    CASE NO.: 8:18-cv-01046-EAK-JSS
 v.

  CAPITAL ONE BANK,

        Defendant.



_____________________________________________________________________________

                          NOTICE OF PENDING SETTLEMENT


       Plaintiff, KEITH ELLISON, by and through his undersigned counsel, hereby submits this

Notice of Settlement and states that Plaintiff, KEITH ELLISON, and Defendant, CAPITAL ONE

BANK, have reached a settlement with regard to this case and are presently drafting, finalizing,

and executing the settlement and dismissal documents. Upon execution of same, the parties will

file the appropriate dismissal documents with the Court.



                                              /s/Amanda J. Allen, Esq.
                                              Amanda J. Allen, Esq.
                                              Florida Bar No.: 98228
                                              THE CONSUMER PROTECTION FIRM, PLLC
                                              4030 Henderson Blvd.
                                              Tampa, FL 33629
                                              Telephone: (813) 500-1500
                                              Facsimile: (813) 435-2369
                                              Amanda@TheConsumerProtectionFirm.com
                                              Shenia@TheConsumerProtectionFirm.com
                                              Attorney for Plaintiff
Case 8:18-cv-01046-EAK-JSS Document 25 Filed 01/10/19 Page 2 of 2 PageID 113




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on January 10, 2019, the foregoing was served using the

CM/ECF system, which will provide electronic notice of filing to all counsel of record.



                                                 /s/Amanda J. Allen, Esq.
                                               Amanda J. Allen, Esq.
                                               Florida Bar No.: 98228
                                               THE CONSUMER PROTECTION FIRM, PLLC
                                               4030 Henderson Blvd.
                                               Tampa, FL 33629
                                               Telephone: (813) 500-1500
                                               Facsimile: (813) 435-2369
                                               Amanda@TheConsumerProtectionFirm.com
                                               Shenia@TheConsumerProtectionFirm.com
                                               Attorney for Plaintiff
